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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

TYRION S. HODGES,                 )
               Plaintiff,         )               Case No. 1:20-cv-06643
                                  )
            v.                    )               Hon. John F. Kness
                                  )
COOK COUNTY SHERIFF THOMAS )
DART, R. PARKER, SUPT. L.         )
IRACHERA, C. ZAMFIRESCU,          )
T. RUSHER, J. HERNANDEZ,          )
J. JUDKINS, J. CRUKAJ, M.         )
SHEEHAN, E. DURAN, C. TORRES,     )
T. BEYER, N. DRACA, R. KORKUS,    )
F. RUIZOZ, M. STATLER, W. RIVERA, )
R. GARCIA, A. DUHARKIC,           )
E. VILLARREAL, E. REIERSON,       )
L. ROMAN, S. STROH, D. CONTORNO, )
J. BARAJAS, R. PASQUEL, J. PRETO, )
M. BORUS, and M. KOEDYKER,        )
                  Defendants.     )

                              CERTIFICATE OF SERVICE

      The undersigned, an attorney, hereby certifies that Defendants’ Motion to Deem
Requests to Admit as Admitted and Defendants’ Reply in Support of Motion to Deem
Requests to Admit as Admitted was sent via mail to the following address on January 10, 2023:

       Tyrion Hodges
       10247 S. Van Vlissingen Rd.
       Chicago, IL 60617



                                                  /s/Zachary Stillman__________
                                                  Zachary Stillman, One of the
                                                  Attorneys for Defendants


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230 W. Monroe St., Ste 230
Chicago, Illinois 60606




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